            Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 NCS MULTISTAGE INC.,                            §
                                                 §
    Plaintiff,                                   §   CIVIL ACTION NO. 6:20-cv-700
                                                 §
                       vs.                       §
                                                 §
 PACKERS PLUS ENERGY SERVICES                    §
 INC. AND PACKERS PLUS ENERGY                    §
 SERVICES (USA) INC.,                            §
                                                 §
    Defendant.                                   §


                   ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff NCS Multistage Inc. (“NCS” or “Plaintiff”), by and through the undersigned

counsel, hereby brings its Complaint for Patent Infringement against Defendants Packers Plus

Energy Services Inc. (“Packers Plus Canada”) and Packers Plus Energy Services (USA) Inc.

(“Packers Plus USA”) (collectively “Packers Plus” or “Defendants”).

                                   NATURE OF THE ACTION

       1.        This is an action for patent infringement. NCS alleges that Packers Plus infringes

the following NCS Patent, which is attached hereto as Exhibit A:

                 • U.S. Patent No. 10,465,445 (“the ’445 Patent”)

       2.        NCS alleges that Packers Plus infringes the ’445 Patent by making, using, offering

for sale, selling, and/or importing the AeroSTAT Glass Barrier Sub. NCS seeks damages,

injunctive, and other relief for infringement of the ’445 Patent.
             Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 2 of 10




                                          THE PARTIES

        3.       Plaintiff NCS is a Canadian corporation with a place of business at 700, 333-7th

Ave SW Calgary, AB T2P 2Z1, and with worldwide headquarters at 19350 State Highway 249,

Suite 600, Houston, TX 77070.

        4.       Upon information and belief, Defendant Packers Plus Canada is a Canadian

corporation with global headquarters at 3500, 525-8th Avenue SW, East Tower, Calgary, Alberta

T2P 1G1. See https://packersplus.com/contact/. Upon information and belief Packers Plus

Canada has designated Kane, Russell, Coleman & Logan, P.C., 5051 Westheimer Road,

Houston, TX 77056 as its agent for service of process and maintains a U.S. corporate office.

        5.       Upon information and belief, Defendant Packers Plus USA is a corporation

organized and incorporated under the laws of the State of Delaware with the right to transact

business in Texas. Packers Plus USA has US Headquarters at 11415 Spell Road, Tomball, TX

77375. Packers Plus also has a district office at 12306 State Highway 191, Midland, TX 79707

and sales offices in Houston, TX, Dallas, TX, and Midland, TX. See

https://packersplus.com/contact/. Packers Plus USA has designated Kane Russell Coleman &

Logan PC, at 5051 Westheimer Road, Suite 1000, Houston, TX 77056, as its registered agent.

                                 JURISDICTION AND VENUE

        6.       This action for patent infringement arises under the Patent Laws of the United

States, 35 U.S.C. § 1 et. seq. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and

1338.

        7.       This Court has general personal jurisdiction over Packers Plus Canada because it

has availed itself of the rights and benefits of the laws of Texas, has derived substantial revenue

from the sales of the infringing AeroSTAT Glass Barrier Sub in Texas, and it has systematic and



                                                  2
            Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 3 of 10




continuous business contacts with Texas. Additionally, this Court has specific personal

jurisdiction over Packers Plus Canada because Packers Plus Canada purposefully directed its

activities at Texas, the claim arises out of Packers Plus Canada’s activities with Texas, and the

assertion of personal jurisdiction is reasonable and fair. Packers Plus Canada has a U.S.

corporate office in Texas and conducts business in Texas. Packers Plus Canada markets oil and

gas equipment to Texas customers via its website https://packersplus.com/, including the

infringing AeroSTAT Glass Barrier Sub. Upon information and belief, Packers Plus Canada

manufactures oil and gas equipment, including the infringing AeroSTAT Glass Barrier Sub,

which it exports to Packers Plus USA in Texas and other Texas customers. Packers Plus USA

offers for sale and sells the equipment, including the infringing AeroSTAT Glass Barrier Sub, to

customers in Texas.

       8.       This Court has personal jurisdiction over Packers Plus USA. Upon information

and belief, Packers Plus USA has a principal place of business in Tomball, TX.

       9.       Venue is proper in this district under 28 U.S.C. §§ 1391 and 1400(b) because,

upon information and belief, Packers Plus Canada is a foreign company, has committed acts of

infringement in the Western District of Texas by exporting the infringing AeroSTAT Glass

Barrier Sub to the Western District of Texas, has sold the infringing AeroSTAT Glass Barrier

Sub in the Western District of Texas, and has a regular and established place of business in

Midland, TX. Packers Plus USA is a Texas resident, has sold the infringing AeroSTAT Glass

Barrier Sub in the Western District of Texas, and has a regular and established place of business

in Midland, TX. Upon information and belief, Packers Plus Canada manufactures the infringing

AeroSTAT Glass Barrier Sub and exports them to Packers Plus USA and other Texas customers.

Packers Plus USA sells the infringing devices in the Western District of Texas.



                                                 3
          Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 4 of 10




                                          BACKGROUND

    A. NCS

        10.     NCS is a leading technology and service company that specializes in multistage

well completions. NCS initially formed in Canada in 2006 as NCS Oilfield Services and began

developing downhole completion tools for conventional and unconventional completions. In

2008, NCS incorporated in the United States and established its world headquarters in Houston,

TX. Today, NCS has 20 offices in the U.S. and Canada, and operates in Argentina, China,

Russia, the Middle East and the North Sea, with a record of over 10,000 field successes.

        11.     NCS is an expert in developing downhole tools like its AirLock® buoyancy

system, a “casing float tool” covered by the ’445 Patent. NCS marks its AirLock® system with

the web address of its patent notice which contains the ’445 Patent number. As a casing string is

run into the horizontal portion of a wellbore the casing string can drag on the bottom of the

wellbore due to its weight and gravity. This makes it challenging to run the casing to the target

zone. The AirLock® system is designed to create buoyancy in the casing string, so that the

string is lighter and it is easier to run the casing into the wellbore. This is called “floating the

casing” into the wellbore. Below is a picture of the patented Airlock® system.




                                                   4
          Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 5 of 10




       12.     The AirLock® system (above in green) is a tubular body attached to the casing

string (above in grey). Within the tubular is a rupture disc (above in white). In use, the portion

of the casing string above the rupture disc is filled with fluid. The portion of the casing string

below the rupture disc is filled with air, which creates buoyancy in the lower portion of the

string. This enhanced buoyancy reduces sliding friction up to 50% while the enhanced weight of

the vertical section provides the force needed to push the string all the way to the toe of the well.

After the casing string is run to the target zone, hydraulic pressure is applied from the surface,

which causes the rupture disc to disengage from the tubular walls and shatter. This process

restores the internal diameter of the casing string so that fluid can freely flow through the casing

string. More than 9,000 AirLock systems have been installed, and casing has landed on more

than 99.9% of first attempts.




                                                  5
          Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 6 of 10




       13.     NCS invests substantial resources in innovation and the protection of its valuable

intellectual property. To date, NCS has worldwide approximately 51 issued patents, including

the ’445 Patent that covers its AirLock® System, and 98 pending patent applications.

   B. PACKERS PLUS

       14.     According to its website, Packers Plus is a privately held completions company

with global headquarters in Calgary, Alberta and US headquarters in Tomball, TX. It was

founded in 2000 and manufactures and sells various completions technology. See

https://packersplus.com/systems-solutions/. Below is an image of the AeroSTAT Glass Barrier

Sub from Packers Plus’s marketing materials:




       15.      According to Packer Plus’s website (https://packersplus.com/solution/aerostat-

glass-barrier-sub/; https://packersplus.com/performance/float-installations-lower-costs-in-

extended-reach-laterals/), the AeroSTAT Glass Barrier Sub is a casing floatation device, creating

buoyancy in the casing string that makes it easier to run casing through the horizontal portion of

a wellbore. The AeroSTAT Glass Barrier Sub is a tubular body that has a glass barrier disc.

After the casing is landed in the target zone, the glass barrier disc is ruptured by applying

hydraulic pressure from the surface, which restores the internal diameter of the casing string.


                                                  6
          Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 7 of 10




   C. NCS NOTIFIES PACKERS PLUS OF INFRINGEMENT CONCERNS IN JULY
      2020

       16.     On July 22, 2020, NCS’s Vice President of US sales contacted Packers Plus’s

General Manager for Completion Products to notify Packers Plus of the ’445 Patent and NCS’s

concern that Packers Plus’s AeroSTAT Glass Barrier Sub infringes the ’445 Patent.

                    COUNT 1: INFRINGEMENT OF THE ’445 PATENT

       17.     The allegations of paragraphs 1-16 of this Complaint are incorporated by

reference as though fully set forth herein.

       18.     NCS owns by assignment the entire right, title, and interest in the ’445 Patent.

       19.     The ’445 Patent was duly and legally issued by the United States Patent and

Trademark Office on November 5, 2019 and is entitled “Casing Float Tool.” A true and correct

copy of the ’445 Patent is attached hereto as Exhibit A.

       20.     The ’445 Patent is valid and enforceable under the laws of the United States.

       21.     Packers Plus Canada and Packers Plus USA have directly infringed and are

directly infringing at least claims 14-15, 22-25, and 27 of the ’445 Patent in violation of 35

U.S.C. § 271 et seq., by making, using, offering for sale, selling, and/or importing in the United

States without authority the accused AeroSTAT Glass Barrier Sub. For example, as shown in

the claim chart attached hereto as Exhibit B, the AeroSTAT Glass Barrier Sub meets every

element of claim 14 either literally or under the doctrine of equivalents.

       22.     Packers Plus Canada and Packers Plus USA have indirectly infringed and/or are

indirectly infringing at least claims 22-25 and 27 of the ’445 Patent in violation of 35 U.S.C. §

271 et seq. With knowledge of the ’445 Patent, Packers Plus Canada and Packers Plus USA

have induced and/or are inducing customers to directly infringe the ’445 Patent by directing,

causing, instructing and/or encouraging their customers to use the AeroSTAT Glass Barrier Sub

                                                 7
         Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 8 of 10




to perform the method of claims 22-25 and 27 of the ’445 Patent. For example, Packers Plus

Canada and Packers Plus USA advertise to customers on their website,

https://packersplus.com/solution/aerostat-glass-barrier-sub/, that the AeroSTAT Glass Barrier

Sub can be installed on casing and run into a well with the casing. A rupture disc in the device

creates buoyancy so that the casing can be floated to the target zone. Packers Plus advertises that

once its customers run the casing to the target zone, they can apply pressure to rupture the

rupture disc, which restores the casing diameter. Upon information and belief, Packers Plus

Canada ships the AeroSTAT Glass Barrier Sub from Canada to Packers Plus USA. Packers Plus

USA sells the AeroSTAT Glass Barrier Sub to customers in the US.

       23.     Packers Plus’s infringement of the ’445 Patent has been and continues to be

willful and deliberate. Upon information and belief, Packers Plus has been on notice of their

infringement of the ’445 Patent since at least July 22, 2020, when NCS’s Vice President of Sales

notified Packers Plus’s General Manager of Completions about the infringement. However,

upon information and belief, Packers Plus continues to use, sell, offer to sell, and import the

accused AeroSTAT Glass Barrier Sub, despite a known or obvious risk of infringement of the

’445 Patent.

       24.     As a result of Packers Plus’s acts of infringement, NCS has suffered and will

continue to suffer damages in an amount to be proved at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, NCS prays for the following relief:

       A.      A judgment that Packers Plus Canada has infringed the ’445 Patent;

       B.      A judgment that Packers Plus USA has infringed the ’445 Patent;




                                                 8
           Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 9 of 10




      C.       An order enjoining Packers Plus Canada, its officers, agents, employees, and

               those persons in active concert or participation with any of them, and Packers Plus

               Canada’s successors and assigns, from continuing to infringe the ’445 Patent;

      D.       An order enjoining Packers Plus USA, its officers, agents, employees, and those

               persons in active concert or participation with any of them, and Packers Plus

               USA’s successors and assigns, from continuing to infringe the ’445 Patent;

      E.       An order awarding NCS its damages pursuant to 35 U.S.C. § 284;

      F.       An order finding that Packers Plus Canada’s infringement has been willful and

               increasing the damages awarded to NCS to three times the amount assessed

               pursuant to 35 U.S.C. § 284;

      G.       An order finding that Packers Plus USA’s infringement has been willful and

               increasing the damages awarded to NCS to three times the amount assessed

               pursuant to 35 U.S.C. § 284;

      H.       An order finding that this case is exceptional within the meaning of 35 U.S.C. §

               285 and awarding NCS its attorneys’ fees;

      I.       An order awarding NCS prejudgment and post-judgment interest on its damages;

      J.       An order awarding NCS its costs;

      K.       An order awarding NCS any other and further relief as the Court deems proper.


Dated: July 30, 2020                                Respectfully submitted,

                                                    /s/ Domingo M. LLagostera
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                                                9
Case 6:20-cv-00700-ADA Document 1 Filed 07/30/20 Page 10 of 10




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                              10
